  Case 4:21-cv-04037-LLP Document 22 Filed 05/12/21 Page 1 of 1 PageID #: 78




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION


SAMUEL LEEK SALPATORIA,                                          4:21-CV-04037-LLP

                                Plaintiff,

               vs.                                                   JUDGMENT

CHAD WINKEL, OFFICER; JOSEPH
LARSON, OFFICER; CATHERINE ANNE
WOOD, TEE ARCHAMBEAU, JOSHUA
FELOY, ANGELA STIENCKE, STEPHANIE
HARMINTON, JOSHUA KELIMEK, KIM
IPPOICOTTA, REBECCA SCHIELFFER,
ROBERT KEVIN, LT. MARY, LT. MIKE,
OFFICER GOURG,

                                Defendants.


       For the reasons contained in the Order Dismissing Complaint for Failure to Prosecute, it is

       ORDERED, ADJUDGED, AND DECREED that Plaintiff’s Complaint, Doc. 1, is

dismissed without prejudice.

       DATED May , 2021.

                                                            BY THE COURT:

       ATTEST:
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                                                            Laawrence L. Piersol
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                                                            United States District Judge
